                                                   U.S. Bankruptcy Court
                                                   Western District of Texas
In re:
                                                              Case No.15−52159−cag
                                                              Chapter No.7
JM OILFIELD SERVICE, INC.
Debtor
                                                              Adv. Proc. No.17−05071−cag
JOSE RODRIGUEZ
Plaintiff
v.
CTI METAL BUILDINGS, INC.
Defendant



                                            SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of
the Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and
agencies shall submit a motion or answer to the complaint within 35 days of issuance.



Address of Clerk
                    Clerk, U.S. Bankruptcy Court
                    Western District of Texas
                    615 E. Houston St, Rm 597
                    San Antonio, TX 78205



At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.



Name and Address of Plaintiff's Attorney
                Elliott S. Cappuccio
                Pulman Cappuccio Pullen Benson & Jones
                2161 NW Military Hwy, Suite 400
                San Antonio, TX 78213



If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.




             Date Issued:
             08/29/2017


                                                                         Yvette M. Taylor, Clerk Of Court
